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                   Exhibit 23
                              Case 3:16-cr-00411-VC Document 116-23 Filed 09/19/17 Page 2 of 2
(22445 unread) - naummorgovsky@yahoo.com - Yahoo Mail                                                                                                    6/29/17, 7)29 PM


    Home         Mail        Search       News         Sports     Finance     Celebrity      Weather     Answers     Flickr     Mobile     More


                                         All        Naum Morgovsky, search your mailbox                    Search Mail        Search Web          Home           N



                                     devin                     RE:

     Compose                                  Search results                    Archive         Move        Delete       Spam             More
                                                                                                                                                         Entertainment:
                                                                                                                                                         Chance the
  Inbox (9999+)                           RE:                                                                                                            Rapper’s Acclaim
                                                                                                                                                         Continues on
  Drafts (211)
                                                                                                                                                         Social
  Sent                                    Devin Standard <Devin.Standard@Janostech.com>                            11/07/13 at 12:25 PM
                                                                                                                                                                 82%
                                          To Naum Morgovsky
  Archive
                                          CC John Therriault                                                                                             Politics:
  Spam (18)                                                                                                                                              Theresa May Has
                                          Naum:                                                                                                          Lost At Least One
  Trash                                                                                                                                                  Vote of
                                          The numbers are the same.
                                                                                                                                                         Confidence
  Smart Views                             Rgds,
    Important                             Devin                                                                                                                67%

    Unread                                                                                                                                               News: Interest
                                          From: Naum Morgovsky [mailto:naummorgovsky@yahoo.com]                                                          in the Galaxy
    Starred                               Sent: Wednesday, November 06, 2013 2:34 PM                                                                     Note 8 May Begin
    People
    Social
                                          To: Devin Standard
                                          Subject: Re:                                                                                            !      to Explode    "
    Shopping                              Hi Devin,                                                                                                            72%
                                          On November 16, 2012, you forwarded to me an email from Tim in regard to the ITAR lenses. An
    Travel                                                                                                                                               Politics: Social
                                          excerpt from it is as follows:
    Finance                                                                                                                                              Loses Even More
                                          "Below are the eﬀective focal lengths as designed optically.                                                   Hope Over
    silverman
                                                                                                                                                         Medicaid Cuts
    mseymour                              Heavy 100.5mm
    bartfield                             Medium 50.00
                                          Light 30.50                                                                                                            79%
    montgomery
                                                                                                                                                         News: No Snap
    seymour                               These are right from Code V design files."
                                                                                                                                                         Decision on
    rosas                                                                                                                                                Snapchat’s Snap
                                          Can you please simply send me ASAP the corresponding numbers for the Non-ITAR lenses.
                                                                                                                                                         Map
    cheo
                                          Regards, Naum
  Folders
                                                                                                                                                         51%
    Drafts
    Notes                                 On Wednesday, November 6, 2013 8:03 AM, Devin Standard <Devin.Standard@Janostech.com>
    Sent Messages                         wrote:
                                          Naum:
    untitled
                                          Here is the prescription. Tim says that should answer everything for question
                                          A.
  Sponsored
                                          Question B is going to require some analysis. I am working on getting a list of
                                          what is needed to complete.
                                          Rgds,
                                          Devin                                                                                                   !                    "
                                          Devin,
  StantonDaily
  Try Not To Gasp When You
                                          Attached is the prescription for the lens. This coupled with the drawings
  See How She Looks Now                   should give the customer everything he needs to build his lens.
                                          Tim




                                          Tim Olsen
                                          Director of Engineering
                                          603-313-7084
                                          tolsen@janostech.com
   Try the new Yahoo Mail                 a) the actual focal distances of the lenses


https://mg.mail.yahoo.com/neo/launch?.rand=fv1pdncfughct#1310186688                                                                                              Page 1 of 1
